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 IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

    MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

DEMONTRAY HUNTER, et al.,          )
                                   )
     Plaintiffs,                   )
                                   )        CIVIL ACTION NO.
     v.                            )          2:16cv798-MHT
                                   )               (WO)
KIMBERLY G. BOSWELL, in            )
her official capacity as           )
the Commissioner of the            )
Alabama Department of              )
Mental Health,                     )
                                   )
     Defendant.                    )

                                ORDER

    Based on the representations made on the record on

November 12, 2021, and in accordance with the court’s

order on March 22, 2021 (Doc. 182), it is ORDERED that:

    (1)   The    status    conference      set   for    December        20,

2021, is canceled.

    (2)   Additional      status       conferences     to   assess      the

State’s progress will be held at 9:00 a.m. on each of

the following dates: February 25, 2022; May 13, 2022,

August 19, 2022; and November 10, 2022. The courtroom

deputy is to arrange for these status conferences to be
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conducted    by    videoconference.          After   the     last     of   the

conferences       listed    above,     the    court     will    re-assess

whether further conferences are necessary.

    (3)     Three     business        days     before        each     status

conference    listed       above,    the     parties    should        file   a

joint    report    explaining       what     steps    have     been    taken

(including        meeting     the      informal        benchmarks          and

addressing the challenges posed by COVID-19) to improve

ADMH’s     noncompliance        since        the     previous         status

conference.

    DONE, this the 15th day of November, 2021.

                                       /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
